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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


LUIS MILLAN DIAZ,                            :     Civil No. 1:16-CV-2234
                                             :
      Plaintiff                              :     (Judge Rambo)
                                             :
v.                                           :     (Magistrate Judge Carlson)
                                             :
UNITED STATES OF AMERICA,                    :
                                             :
      Defendant                              :

                                     ORDER


      AND NOW, this 5th day of November 2019 IT IS HEREBY ORDERED

THAT a settlement conference shall be conducted on January 22, 2020, at 1:00

p.m., in the undersigned chambers 11th Floor, U.S. Courthouse, Harrisburg. All

persons having settlement authority shall be present unless approved by the court to

be available by telephone on the date and time of the conference.

      By January 17, 2020, the parties shall submit to the undersigned, U.S. mail

or electronic mail, at:

Chambers_of_Magistrate_Judge_Martin_Carlson@pamd.uscourts.gov

a brief, concise and confidential settlement memorandum setting forth the parties’

assessment of the case, and settlement recommendations.
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      In addition, by January 15, 2020, the parties shall begin the settlement

process by exchanging a demand by the plaintiff, and a counter-offer by the

defendants. The parties’ confidential memoranda should update the Court on the

status of these settlement discussions.




                                 /s/ Martin C. Carlson
                                 Martin C. Carlson
                                 United States Magistrate Judge
